Case 2:20-cv-00678-SPC-NPM Document 6 Filed 09/17/20 Page 1 of 2 PageID 13




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

  CHRISTOPHER THORNBERRY, an
  individual,

         Plaintiff,
  vs.                                                 CASE NO.: 2:20-cv-678-FtM-38NPM

  U.S. WATER SERVICES
  CORPORATION, a Florida profit
  corporation,

        Defendant.
  ___________________________________/

                       CERTIFICATE OF INTERESTED PERSONS
                      AND CORPORATE DISCLOSURE STATEMENT

         Plaintiff, Christopher Thornberry, by and through undersigned counsel, hereby
  discloses the following:

  1.)     The name of each person, attorney, association of persons, firm, law firm,
  partnership, and corporation that has or may have an interest in the outcome of this action —
  including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded
  companies that own 10% or more of a party’s stock, and all other identifiable legal entities
  related to any party in the case:

         Christopher Thornberry, Bradley P. Rothman, Richard L. Weldon, II, Weldon &
         Rothman, P.L., and U.S. Water Services Corporation.

  2.)    The name of every other entity whose publicly-traded stock, equity, or debt may be
  substantially affected by the outcome of the proceedings:

         None.

  3.)    The name of every other entity which is likely to be an active participant in the
  proceedings, including the debtor and members of the creditors’ committee (or twenty largest
  unsecured creditors) in bankruptcy cases:

         None.




                                          Page 1 of 2
Case 2:20-cv-00678-SPC-NPM Document 6 Filed 09/17/20 Page 2 of 2 PageID 14




  4.)    The name of each victim (individual or corporate) of civil and criminal conduct
  alleged to be wrongful, including every person who may be entitled to restitution:

         Christopher Thornberry

          I hereby certify that, except as disclosed above, I am unaware of any actual or
  potential conflict of interest involving the district judge and magistrate judge assigned to this
  case, and will immediately notify the Court in writing on learning of any such conflict.

  Dated: September 17, 2020

                                                    s/ Bradley P. Rothman
                                                    Bradley P. Rothman
                                                    Florida Bar No. 0677345
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                                            Page 2 of 2
